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                                                      November 3, 2022
VIA ECF

Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

                                           Re:      Meera Patel v. Cota, Inc., et al.
                                                    Case No. 22-cv-03840

Dear Judge Schofield:

               As counsel for COTA Inc. (“COTA”) and Kaeleigh Farrish (“Farrish”), we write
in response to Plaintiff’s second letter motion for an extension of time to reopen the above-
referenced action (Docket Entry (“DE”) 29). Plaintiff’s request omitted a significant aspect of
Defendant COTA’s and Farrish’s opposition to Plaintiff’s request to reopen: the parties have not
only entered into a settlement agreement resolving this matter in its entirety, they have executed
a stipulation of dismissal, with prejudice. There is no reason why this matter should be
reopened.

                By way of background, after the parties’ notified this Court that it had reached a
settlement in principle, Your Honor issued an Order dismissing this action “without costs and
without prejudice to restoring the action to the Court’s calendar, provided the application to
restore the action is made within thirty (30) days”. (DE 25). On October 6, 2022, Plaintiff
requested a thirty (30) day extension of time to move to reopen, as “the parties are engaged in the
process of finalizing a confidential settlement agreement, and need more time for that.” (DE 27).
Your Honor granted the application on October 7, 2022, and ordered that “[a]ny application to
restore this action will be made by November 7, 2022. No further extension will be granted
absent extraordinary circumstances.” (DE 28).

               The parties finalized the terms of the settlement agreement on October 7, 2022.
That agreement is now fully executed, and a stipulation of dismissal, with prejudice, has been
signed by all counsel.1 Defendants are not in breach of the agreement, nor is there an alleged
breach. Even if there was, it would not be addressed by reopening this action. Thus, when

1
 While the agreement does not require Defendants to wait to file the stipulation of dismissal with prejudice, the
undersigned intended to file same at the time payment was finalized. A copy is attached as Exhibit A.
                                                                                         Hon. Lorna G. Schofield
                                                                                       United States District Judge
                                                                                                     June 30, 2022
                                                                                                             Page 2

Plaintiff’s counsel requested the parties make a joint motion for further time to move to reopen,
the undersigned responded that “We’ve all signed a stipulation of dismissal, the filing of which is
not contingent upon payment first being made, and the agreement is signed. If there’s some
failure to pay by the 19th (which there won’t be) it would be an action to enforce the settlement
or for breach, not to reopen this.”2 When Plaintiff’s counsel responded stating he “would make
the request. Should I tell the Court that we are making the request with or without your
consent,” we reiterated that COTA and Farrish “do not consent. The parties have a fully
executed agreement, and a fully executed stipulation of dismissal. Judge Schofield was clear she
wouldn’t extend the time to reopen without good cause, and we do not believe there’s any
reason, let alone good cause, to do so here.”

                    Thus, we respectfully request that Plaintiff’s request be denied.



                                                                  Respectfully submitted,

                                                                  JACKSON LEWIS P.C.

                                                                  Kathryn J. Barry

KJB/kms                                                           Kathryn J. Barry
cc:   All attorneys of record (via ECF)
4892-2089-1965, v. 1




2
    Plaintiff’s counsel omits the reference to the stipulation of dismissal from the present application. (DE 29).
